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Prob 12AP
                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF CALIFORNIA

                         REPORT OF OFFENDER NON-COMPLIANCE


Offender Name:                         Shekhinah A. Sullivan

Docket Number:                         2:04CR00061-02 WBS

Judicial Officer:                      Honorable William B. Shubb
                                       United States District Senior Judge
                                       Sacramento, California

Original Sentence Date:                4/21/2004

Original Offense:                      18 USC 1344(2), Bank Fraud

Original Sentence:                     4 months prison, $100 special assessment, $1,100
                                       restitution, 3 years supervised release

Special Conditions:                    Search, financial disclosure/restrictions, substance
                                       abuse counseling and testing, alcohol sanctions, mental
                                       health treatment if necessary, & aftercare co-pay

Other Court Action:                    None

Type of Supervision:                   Supervised Release

Supervision Commenced:                 2/04/2005


                                 NON-COMPLIANCE SUMMARY

The purpose of this report is to advise the Court of an alleged violation of the terms of
supervision. The information is reported for advisement purposes only; no further Court
action is requested at this time.

1.          ILLICIT DRUG USE (5/5/2005)

2.          Details of alleged non-compliance: On May 5, 2005, the defendant submitted a
            urine sample for analysis. Laboratory results returned positive for the presence of
            cocaine.

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RE:    SULLIVAN, Shekhinah A.
       Docket Number: 2:04CR00061-02 WBS



United States Probation Officer plan/justification: The defendant admits smoking
cocaine while with friends and family. This represents her first positive test for illegal drug
use since releasing to supervision. She, otherwise, is abiding by her terms and conditions
of supervision at this time. She is amenable to receiving substance abuse counseling and
has been referred for said counseling. No adverse action is recommended at this time.

                                  Respectfully submitted,

                                    /s/ Melinda S. Peyret

                                   Melinda S. Peyret
                             United States Probation Officer
                               Telephone: (559) 498-7569

DATED:        May 18, 2005
              Fresno, CA
              msp


Reviewed by:         /s/ Bruce Vasquez
                     BRUCE A. VASQUEZ
                     Supervising United States Probation Officer


No response will be necessary for this notice unless the Court directs that additional action
be taken. If the Court desires additional action or information, please call this officer at
(559) 498-7569. Your Honor's signature below signifies the Court has reviewed this report.

Date: May 18, 2005




Attachment: PSR (Sacramento only)
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